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                                Susman Godfrey l.l.p.
                                        a registered limited liability partnership




VIA ECF
Hon. Ona T. Wang
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007-1312

                  RE:      Authors Guild et al. v. OpenAI, Inc., et al., and Alter et al. v. OpenAI Inc.,
                           et al., Nos. 1:23-cv-08292-SHS & 1:23-cv-10211-SHS
Dear Judge Wang:
       Pursuant to Rule II.b of Your Honor’s Individual Practices, Plaintiffs seek an informal
discovery conference concerning six OpenAI custodians. This case is about whether OpenAI’s
reproduction of pirated books to train its large language models is copyright infringement. The six
custodians at issue had key roles in



        The parties have met and conferred several times over Zoom and telephone. While there is
agreement on 24 OpenAI custodians, the parties are at impasse as to the six at issue in this motion.
See Ex. 1 (email exchange); id. at 5-7, 25-27 (explanations). Because OpenAI has shown no
significant burden to adding these custodians, and because each likely has relevant and
noncumulative records, their addition is proportional and warranted.

    I.       Legal Standard

        Discovery disputes regarding the number of custodians are subject to the general principles
of relevance and proportionality. See Fireman’s Fund Ins. Co. v. Great American Ins. Co. of New
York, 284 F.R.D. 132, 135 (S.D.N.Y. 2012); Delta Air Lines v. Lightstone Grp., LLC, No. 21-MC-
374, 2021 WL 2117247 at *2, (S.D.N.Y. 2021) (Wang, M.J.). Courts routinely require production
of additional custodial files where, after a threshold showing of relevance, the party resisting
discovery fails to “show[] that the production of all of the requested employees’ email
communications would be unduly burdensome or that a search of their files would not potentially
yield relevant information.” See Capitol Recs., Inc. v. MP3tunes, LLC, 261 F.R.D. 44, 50
(S.D.N.Y. 2009); Delta, 2021 WL 2117247 at *3 (granting motion to compel where party failed
to “specify[] the nature or size of the burden . . .”).1 Courts may consider whether the requested

1
  In adjudicating a similar dispute in the In re Chat GPT Litig., No. 23-cv-3223, matter the Northern District of
California held that plaintiffs were entitled to 24 custodians and allowed the Plaintiffs additional custodians “to the
extent that Plaintiffs can identify any number of additional custodians . . . that Plaintiffs can persuasively argue to
possess non-cumulative, unique documents or information.” Dkt. 166 at 2.
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custodians are likely to have nonduplicative material, and plaintiffs can make this showing through
citations to documents and inferences based off a custodian’s roles / responsibilities. See United
States v. United Techs. Corp., 16-CV-01730, 2020 WL 7339916, at *9–10 (D. Conn. Dec. 14,
2020) (granting motion where custodians received relevant emails or had relevant responsibilities);
Fort Worth Ret. Fund v. J.P. Morgan Chase & Co., 297 F.R.D. 99, 107 (S.D.N.Y. 2013).2

    II.      Plaintiffs Have Justified the Inclusion of These Six Additional Custodians.

        (1) Shantanu Jain: OpenAI Technical Staff Member                               . Jain was
one a handful OpenAI employees primarily responsible for
                                                  OpenAI’s internal documents show that Jain
investigated
                                                                        . See, e.g., Ex. 2 at 5-9
(
                             Jain was heavily involved in                             , see id. at
12-15, and
             , see id. at 18 (discussing with OpenAI’s President                                ).
Jain’s custodial file will show


        (2) Ilya Sutskever: OpenAI Co-Founder, Former Chief Scientist, and Lead OpenAI Safety
Critic. Sutskever’s custodial file is likely to contain unique, relevant documents for at least two
reasons. First, Sutskever directed
                 See Ex. 3 at 1                                                               id. at
2(                                                                  ); id. at 3


        Second, Sutskever’s custodial file is likely to contain unique and relevant information
about whether the AI systems at issue are beneficial or detrimental to the public interest. OpenAI
itself recently argued in the New York Times action that whether “the technology OpenAI
introduced to the world” serves “the public interest generally” is relevant to fair use issues. NYT
Dkt. 236 at 1. And Sutskever is uniquely situated with respect to this issue. He led OpenAI’s
“alignment” and “superalignment” efforts, which focused on “managing the[] risks” that OpenAI’s
AI systems “could lead to the disempowerment of humanity,” as well as the problem of ChatGPT’s
regurgitation of copyrighted material. https://openai.com/index/introducing-superalignment/;
https://openai.com/index/introducing-the-model-spec/ (“[a]s a continuation of our work on
collective alignment and model safety . . .” ); https://tinyurl.com/mvf5xt54 (listing “respect[ing]
creators and their rights” as a key “rule” in the “model spec”). Sutskever was so gravely concerned


2
  The mere fact that a custodian’s file may be partially duplicative of documents already produced is not grounds for
denying their inclusion. See, e.g., Mount Hawley Insurance Co. v. Felman Producution, Inc., 269 F.R.D. 609, 620
(S.D.W.V.2010) (granting motion to compel additional custodians even though it was “highly likely that the
[requested custodians] will produce ... duplicates of previously produced materials,” because “it is reasonable to
believe that they will have additional, highly relevant materials . . .”).
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about the safety of OpenAI models and its rapid commercialization that he orchestrated the (short-
lived) firing of OpenAI’s CEO Sam Altman over these issues in November 2023. See
https://venturebeat.com/ai/openais-leadership-coup-could-slam-brakes-on-growth-in-favor-of-ai-
safety/. As OpenAI’s safety lead during his tenure, and the internal whistleblower over safety
issues at OpenAI, Sutskever will no doubt have unique, relevant documents about whether the AI
systems at issue will “serve the public interest generally.” NYT Dkt. 236 at 1.

       (3) Jong Wook Kim: Member of the OpenAI Technical Staff
                     . Kim was specially involved in identifying

               See Ex. 4 at 1(
                   ). In particular, Kim played the unique role
                                                 See id. at 2 (
                                                              This appears to be—


       (4) Cullen O’Keefe: Former Research Scientist
              O’Keefe served as
                                               . He authored

                  Ex. 5 at 1-17; see, e.g., id. at nn. 4, 7-9, 16-20 (
                                                                   These
                                                                       . E.g. id. at 6, 8, 13.

       (5) Qiming Yuan: OpenAI’s “Pretraining Data Lead” and “Dataset Sourcing and
Processing Lead” for GPT-4o and GPT-4 Respectively. Mr. Yuan was involved


                                See Ex. 6 at 1, 5, 8-9.

         (6) Andrew Mayne: Writer and Former OpenAI “Science Communicator.” Mayne is a
published author and former OpenAI employee whose writings have uniquely focused—
                                       —on the importance of books as training data and LLMs’
abilities to write books (i.e., the types of works at issue here). Just this week, Mr. Mayne tweeted,
“As someone who is a novelist . . . and worked at OpenAI on capabilities discovery, I’m convinced
that       AI      will     be       able     to      write      good        novels    soon.”     See
https://x.com/AndrewMayne/status/1830685142781993100. He has also confirmed the
importance of books as training data, writing that “training on entire short stories or novels,” is
necessary, for example, for “a text transformer to understand plot structure.”
https://tinyurl.com/ypfh3rak; https://tinyurl.com/2687m7cp. Mr. Mayne’s communications at
OpenAI about books and AI’s ability to write books are relevant to whether OpenAI’s
reproductions of                               is nontransformative (fair use factor 1) and the extent
to which OpenAI has usurped writers’ creations to create a machine that will replace them (fair
use factor 4). See Am. Geophysical Union v. Texaco Inc., 60 F.3d 913, 918-931 (2d Cir. 1994).
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                                          Respectfully submitted,

LIEFF CABRASER HEIMANN                SUSMAN GODFREY LLP            COWAN DEBAETS
& BERNSTEINS LLP                                                    ABRAHAMS & SHEPPARD
                                                                    LLP

/s/ Rachel Geman                      /s/ Rohit D. Nath             /s/ Scott J. Sholder

Rachel Geman                          Rohit D. Nath                 Scott J. Sholder



cc:         All Counsel of Record (via ECF)


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